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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                   )
 JASON LEOPOLD, et al.,                            )
                                                   )
                        Plaintiffs,                )
                                                   )
        v.                                         ) Civil Action No. 1:20-cv-00540 (RDM)
                                                   )
 U.S. DEPARTMENT OF JUSTICE,                       )
                                                   )
                        Defendant.                 )
                                                   )
                                                   )

                                      JOINT STATUS REPORT

       Pursuant to the Court’s October 9, 2020 minute order, Plaintiffs Jason Leopold and

Buzzfeed, Inc. (Plaintiffs), and Defendant Department of Justice provide the following update:

       1.       On July 13, 2020, the Court ordered Defendant to “perform searches and provide

Plaintiffs with all responsive, nonexempt records (1) from the first EOUSA custodian on or before

August 3, 2020; (2) from the second EOUSA custodian on or before August 24, 2020; (3) from

the remaining EOUSA custodians on or before September 23, 2020.”

       2.       The Court further ordered that OIP should search for responsive records on or

before July 31, 2020.

       3.       The Parties agreed that the OIP would produce responsive records it had located

using methods that did not require remote searching of electronic records by August 12, 2020.

       4.       OIP completed its electronic search on July 28, 2020. The search identified

approximately 1,500 documents and approximately 2,800 items that require review for

responsiveness and deduplication. "Documents" include individual emails, computer files, and

calendar items, while "items" additionally include attachments to emails. In the parties’ September
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4, 2020, Joint Status Report, OIP proposed making an interim response on or before October 2,

2020. OIP also proposed making an additional interim response on or before November 2, 2020,

in which it would endeavor to produce as many of the remaining responsive records as possible.

OIP also proposed that if it could not complete its response by November 2, 2020, it would make

one final response on December 4, 2020.

       5.       On August 3, 2020, EOUSA produced 72 of 224 responsive pages from its first

custodian.

       6.       By letter dated August 12, 2020, OIP produced 156 pages, including all but two

pages responsive to the request in this case that it had located using methods that did not require

remote searching of electronic records, as well as certain records located in response to the

Plaintiffs’ FOIA request at issue in Leopold v. DOJ, No. 20-cv-741-CRC (D.D.C).

       7.       On August 24, 2020, EOUSA produced 38 of 59 responsive pages from its second

custodian.

       8.       On September 23, 2020, EOUSA produced 84 of 110 responsive pages from its

remaining custodians.

       9.       On October 5, 2020, OIP produced 76 pages responsive to the request in this case

and/or Plaintiffs’ FOIA request at issue in Leopold v. DOJ, No. 20-cv-741-CRC (D.D.C).

       10.      On November 2, 2020, OIP produced 137 pages responsive to the request in this

case and/or Plaintiffs’ FOIA request at issue in Leopold v. DOJ, No. 20-cv-741-CRC (D.D.C).

Because there remains potentially responsive material located by OIP still pending consultation,

OIP anticipates that it will make a final response on December 4, 2020.

       11.      The parties propose filing an additional joint status report on or before December

11, 2020.




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Dated: November 10, 2020           Respectfully submitted,

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